

Vassenelli v City of Syracuse (2019 NY Slip Op 05883)





Vassenelli v City of Syracuse


2019 NY Slip Op 05883


Decided on July 31, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 31, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, NEMOYER, AND CURRAN, JJ.


446 CA 18-01082

[*1]NICHOLAS L. VASSENELLI, PLAINTIFF-APPELLANT,
vCITY OF SYRACUSE, ET AL., DEFENDANTS, AND SHARON ERIKSSON, IN HER INDIVIDUAL CAPACITY AS A FORMER AGENT OF THE CITY OF SYRACUSE, DEFENDANT-RESPONDENT. (APPEAL NO. 6.) 






BOSMAN LAW FIRM, LLC, ROME (A.J. BOSMAN OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
COSTELLO, COONEY &amp; FEARON, PLLC, SYRACUSE (DANIEL R. ROSE OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Gregory R. Gilbert, J.), entered February 20, 2018. The order granted the motion of defendant Sharon Eriksson for summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: July 31, 2019
Mark W. Bennett
Clerk of the Court








